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MALCOLM S. MCNEIL, SBN 109601
ISMAEL BAUTISTA, JR., SBN 252139
FOX ROTHSCHILD LLP

1800 Century Park East, Ste. 300

Los Angeles, Califomia 90067-3005
Tel: 310.598.4150 / Fax 310.556.9828
mmcneil@foxrothschild.com
ibautista@foxrothschild.com

Attomeys for Defendant WI SPA, LLC

UNITED STATES DISTRIC'I` COURT
CENTRAL DISTRICT OF CALIFCRNIA

CATHERINE CARTER, on behalf of
herself and all others similarly situated,

Plaintiff,

V.

WI SPA, LLC, a Califomia limited
liabilit company; and DOES l through
10, inc usive,

Defendants.

 

 

 

 

NOTICE OF REMOVAL

LA1 281746v1 01/25/13

 

    
   
 

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JAN 2 § 2013

 

 

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DEFENDANT wl sPA, LLC’s
NoTICE oF REMovAL oF
AcTIoN UNDER 28 U.S.C. § 1331
(FEDERAL QUESTIoN)

[Filed concurrently with Certification
and Notice of Interested Parties]

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TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant WI SPA, LLC (“Defendant”)
hereby files this notice removing to this Court the state court action described
below (the “Notice of Removal”), based on the Court's removal jurisdiction under
28 U.S.C. § 1441, and the Court's jurisdiction under 28 U.S.C. § 1331.

I. PLEADINGS AND PROCEEDINGS TO DATE

On or about December 20, 2012, Plaintiff CATHERINE CARTER
(“Laianf”) commenced a class action for alleged violations of the F ederal Credit
Reporting Act (“FRCA”), 15 U.S.C. § 1681 et seq. in the Superior Court of
Califomia in and for the County of` Los Angeles, entitled Catherine Carter v. Wz`
Spa, LLC, as Case No. BC497946 (“State Action”). A copy of the Summons and
Complaint papers is attached as Exhibit “A.”

On or about December 28, 2012, Defendant was personally served in the
State Action. A copy of the Proof of Service is attached as Exhibit “B.”

On or about January 10, 2013, the Los Angeles Superior Court issued an
Initial Status Conference Order, which is attached as Exhibit “C,” and a Court
Order Regarding Newly Filed Class Action, which is attached as Exhibit “D.”

The Complaint constitutes the totality of` all pleadings filed in the State
Action.

II. TIMELY REMOVAL OF STATE COURT COMPLAINT

Removal of Plaintiff`s Complaint is authorized by 28 U.S.C. §§ 1441 and

1446. 28 USC 1446(b) states in relevant part:

if the case stated by the initial pleading is not removable,
a notice of removal may be filed within thirty days after
receipt by the defendant, through service or otherwise, of
a copy of an amended pleading, motion, order or other
paper from which it may first be ascertained that the case
is one which is or has become removable. ..

This Notice of Removal is timely in that Defendant was served on December

 

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NOTICE oF REMOVAL
LA1 281746v1 01/25/13 '

 

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paper from which it may first be ascertained that the case
is one which is or has become removable, ..

This Notice of Removal is timely in that Defendant was served on December
28, 2012 and this Notice of Removal is being filed within thirty (30) days.
III. SUBJECT MA'I`TER JURISDICTION

In order to establish subject matter jurisdiction due to federal question,
Defendant must show that this civil action arises under the laws of the United
States. Here, as this action involves the Federal Credit Reporting Act, 15 U.S.C. §
1681p, removal is proper.
IV. VENUE

This action is currently pending in the Superior Court of Califomia in the
County of Los Angeles and, therefore, venue in this Court is proper pursuant to 28
U.S.C. § 84(c) and 28 U.S.C. § 1391(a).
V. NOTIFICATIONS

As required by 28 U.S.C. § 1446(d), Defendant will provide prompt written
notice to Plaintiff, by counsel, of removal of this action to federal court. As
required by 28 U.S.C. § 1446(d), Defendant will file a copy of this Notice of
Removal with the Clerk of the Superior Court of the State of Califomia for the
County of Los Angeles.

WHEREFORE, Defendant hereby removes this action from the State Court
to the United States District Court for the Central District of Califomia.
Dated: January 25, 2013 FOX ROTHSCHILD LLP

By:
Malco rn S. McNeil `

Ismael Bautista, Jr.
Attomeys for Defendant WI SPA, LLC

 

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NOTlCE OF REMOVAL

LA1 281746v1 01/25/13

 

Case 2:13-cv-OO580-SVW-CW Document 1 Filed 01/25/13 Page 4 of 55 Page |D #:4

EXHIBIT
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NOTlCETO DEFENDANT: WI SPA, LLC, a Califomia limited
(AVISOAL DEMANDADO): liability company,' and DOES l _
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“`OUY‘.["¢'(‘!` l.{“ ~' .‘\'€?l" 1 "

YOU ARE BE|NG SUED BY PLA|NT|FFZ CATHERINE CARTER, Cn

(LGESTA DEMANDANDOELDEMANDANTE): behalf of herself
and all others similarly situated,

 

 

 

NOTlCEl You have been sued. The court may decide against you without your being heard unless you respond within 30 deys. Read the information
below.

too have 30 CALENDAR DAYS etter this summons and legal papers are scored on you to tile a written response at this court and have a copy
served on the plaintttt. A letter or phone cell will not protect you. Your written response must be ln proper legal form it you went the court to hear your
case. There may be a court term that you can use tor your response ¥ou can find these court terms and more lntormatlon et the Califomia Courte
Ontne Selt-Help Center (www.couninro.ce.gov/selttretp), your county law library. or the courthouse nearest you. lt you cannot pay the tti|ng tee, ask
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There are other legal requirements You may want to call en attorney right evray. lt you do not know en ettomey. you may went to call en attorney
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(mw.coudinto.oavgov/soltherp). or by contacting your local court or county bar association NOTE: The court has a statutory lien tor waived teee and
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(El nombre, la direccion y er numero de telétono del ebogedo del demandente, o del demandante quo no tiene abogado, es).'
Alex F. t<at;ofsky, Esq. (SBN 202754) (818) 703-8985 (818) 703-8984
Gaines & Ga tries , APLC
1 500 Oxnard Sl;reet
Woodland Hil.ls, CA 91367 '
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NOTICE TO THE PERSON SERVED: You are served
lSFN~l 1. [::l as an individual defendant

2. f_:_] as the person sued under the fictitious name ot (specr'ty):

3. [Z_J on behalf of (spocr'ty): &/r‘f/I,ll f, /Mt$¢£¥/) [/r"f/%') Z/»&¥"')V 459437/

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ClVlL CASE COVER SHEET ADDENDUM AND
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(CERT|F|CATE OF GROUNDS FOR ASS|GNMENT TO COURTHOUSE LOCAT|ON)

 

This form ls required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

 

 

 

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case in the left margin below. and. to the right in Column A , the Civll Case Cover Sheet case type you selected

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Applioable Reasons for Choosing Courthouse Location (see Column C below) l

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SHORYTmE CATHERINE CARTER V. WI SPA,

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SHORTTFRE CATHERINE CARTER V. WI SPA,

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Case 2:13-cv-00580-SV\U§W Document 1 Filed 01/25/13 age 10 of 55 Page |D #:10

 

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ltam llL StatementofLocstion: Entarthe address ol theaocident, party's residence or piace' ol business, performarwe, orother
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Cll'¥; STATE ZP CO°E

Los Angeles CA 90057

 

 

 

 

 

 

 

item lV. Dedarali'm ofAsslgnment. | declare under penalty of perjury under the laws of the State d Califomia that the foregoing is true
andcorrodandthattheabove~entit|ed manerispmpsdyibdiorassignmudw"\e §L§nlg¥ Mg§k commensurate
§§n§ggl, District ollhe Superior Court of Caiifomia. County of Los Angeles lCode Civ. Proc., § 392 et eeq.. and Local
Ruie 2.0. lr.\bda. (b). (c) and (d')].

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Alex P . Katofkay

PLEASE HAVE THE FOLLOWING HE|IS COMPLETED AND READY TO BE FlLED lN ORDER TO PROPERLY
COHMENCE YOUR NEW COURT CASE:

1. Origlnal Complaint or Petition.

2. ll iiling a Compiaint, a completed Summons form lor issuance by the Clerk.
3. Civil Case Cover Sheet. Judiciai Councii form CM-01 O.

4

. Civi| Case Cover Sheet Addendum and Statement ol Location form, LAC|V 109, LASC Approved 03-04 (Rev.
03I11).

Payment in iuli of the filing iee. unless fees have been waived.

6. A signed order appointing the Guardlan ad Litem, Judicial Council form ClV-010, if the plaintiff or petitioner is a
minor under 18 years ofsgewill be required by Court in orderto issues summons

7. Additionai copies of documents to be conformed by the Clerk Copies of the cover sheet and this addendum
must be served along with the summons and complaint or other initiating pleading in the case.

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Case 2:13-cv-00580-SVV‘W Document 1

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KENNETH S. GAINES, ESQ. SBN 049045

Ken@gaincslawtimt.com

DANIEL F. GAINES, ESQ SBN 251488

Daniel gaineslawflrm. com

ALEX . KA'I`OFSKY, ESQ. SBN 202754

Alex ' wfn'm.eom

SEP EH HlRMAND, ESQ. SBN 274259
Sepideh@gaineslawfirm .com

GAINES & GAINES, APLC

21550 Oxnard Street, Suite 980

Woodland Hills, Califomia 91367

'I`elephone: (818) 703-8985

Facsimile: (818) 703-8984

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Attomeys for Plaintiff Cathen'ne Carter, on behalf of herself and others similarly situated, and on

behalf of the general public

SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR THE COUNTY OF LOS ANGELES

CATHERINE CARTER, on behalf of herself
and all others similarly situated,

Plaintiff,
v.

Wl SPA, LLC, a Califomia limited liability
company; and DOES l through lO, inclusive.

Defendants.

 

CaseNo.: Bc4g 794`6

W

COMPLAINT FOR DAMAGES AND
INJUNCTIVE RELIEF

DEMAND FOR JURY TRlAL

 

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COMPLAINT FOR DAMAGES AND lNIU'NCTlVE REL]BF

 

 

_Case 2:13-cv-00580-SV\C€W Document 1 Filed 01/25/13 age 12 of 55 Page |D #:12

 

1 PlaintitT CATHER]NE CARTER (“Carter" or “Plaintiff"), on behalf of herself and all
2 others similarly situated (the “Class” or “Plaintiff Class") and on behalf of the general public,
3 complains of Defenda.nts, and each ofthem, as follows:
4 i INTRODUCTION
5 1. This is a Class Action, pursuant to Code of Civil Procedure § 382, on behalf of
6 Plaintiff and other individuals who used credit or debit cards to make purchases from a business
7 owned and/or operated by Defendant WI SPA, LLC, and any subsidiaries or affiliated companies
8 (hereinafter collectively referred to as “Defendants“) nationwide
9 2. lo 2003, Congrcss passed the Fair and Accurate Credit 'I`ransaction Act
10 (“FACTA”) to assist in the prevention of identity theft and credit and debit card fraud.
11 3. A main provision of FACTA (codified as 15 U.S.C. § 1681c(g) of the Fair Credit
12 Reporting Act) provides that:
13 “No person that accepts credit cards or debit cards for the transaction
14 of business shall print more than the last five digits of the card
15 number g the expiration date upon any receipt provided to the
16 cardholder at the point of sale or transaction."
17 4. Defendants have willfully violated this law and failed to protect Plaintiff and
18 others similarly situated against identity theft and credit card and debit card fraud by printing thc
19 expiration date on receipts provided to debit card and credit card cardholders transacting business
20 with Defendants.
21 5. Plaintiff, on behalf of herself and all others similarly situated, brings this action
22 against Defendants based on Defendants’ violation of 15 U.S.C. §§ 1681 et seq.
23 6. Plaintiff seeks, on behalf of herself and the class, statutory damages, punitive
24 damages, costs and attorneys’ fees, all of which are expressly rmde available by statute at 15
25 U.S.C. §§ 1681 et seq., and a pemranent injunction enjoining Defendants from continuing their
26 unlawful practice of willfully violating FACTA’s provisions intended to safeguard against
27 16 identity then and credit and debit card fraud.
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- 2 -
COMPLA|NT FOR DAMAGES AND fN.lU'NCTlVE RELIEF

 

 

 

Case 2:13-cv-OO580-SVVGW Document 1 Filed 01/25/13 age 13 of 55 Page |D #:13

 

1 l PARTIB

2 1 7. Plaintiff Catherine Carter is, and at all times relevant hereto was, a resident of the

3 State of Califomia, County of Los Angeles.

4 8. At all times relevant herein, Defendant WI SPA, LLC, has been a Califomia

5 limited liability company doing business in the State of Califomia, County of Los Angeles. The

6 violations alleged herein have taken place at Defendant’s business locations in Los Angeles

7 County. Venue as to each Defendant is therefore proper in this judicial district, pursuant to Code

8 of Civil Proccdure § 395.

9 9. The true names and capacities, whether individual, corporate, associate, or
10 otherwise, of Defendants sued herein as DOES l to 10, inclusive, are currently unknown to
1 1 Plaintiff, who therefore sues Defendants by such fictitious names under Code of Civi| Procedure
12 § 474. Plaintiff is informed and believes, and based thereon alleges, that each of the Defendants
13 designated herein as a DOE is legally responsible in some manner for the unlawful acts referred
14 to herein, Plaintiff will seek leave of court to amend this Complaint to reflect the true names and
15 capacities of the Defendants designated hereinafter as DOES when such identities become
1 6 known.

17 10. Plaintiff is informed and believes, and based thereon alleges, that each Defendant
18 acted in all respects pertinent to this action as the agent of the other Defendants, carried out a
19 joint scheme, business plan or policy in all respects pertinent hereto, and the acts of each
20 Defenth are legally attributable to the other Defendants.
21 FACI`QAL BACKGROUND
22 ll. At all times since at least December 20, 2007, Defendants have owned and/or
23 operated one or more retail spa businesses in Los Angeles County.
24 12. Based on information and belief, Plaintiff alleges that Defendants accept credit
25 and debit cards from customers to make purchases at their businesses
26 13. Plaintiff used a debit or credit card to make a purchase at one of Defendant’s spas
27 in December 2012. The entire expiration date of her credit or debit card was printed on the
28 receipt generated and provided to her at the point of sale.

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i COMPLAINT FOR DAMAGES AND lNJUNCTlVE R.ELlEF

 

 

 

Case 2:13-cv-OO580-SVVWW Document 1 Filed 01/25/13 We 14 of 55 Page |D #:14

 

1 l4. Plaintiff is informed and believes, and based thereon alleges, that Defendants print

2 the entire expiration date on receipts provided to their customers for credit and debit card

3 transactions since at least December 20, 2007.

4 CLASS ALLEGAT!ON§

5 15. Plaintiff brings this class action pursuant to Califomia Code of Civil Procedure §

6 382. Plaintiff seeks to certify a Class composed of and defined as follows:

7 ‘ “All persons in the United States to whom1 through use of a machine

8 used by Defendants, were provided with an electronically printed

9 receipt at the point of` a sale or transaction on which the expiration
10 date of the person‘s credit or debit card was printed since the date five
1 1 years prior to the filing of this Action.”
12 Numerosig v
13 16. The Class is so numerous that joinder of all individual members in one action
14 would be impracticable The disposition of the individual claims of the respective class members
15 through this class action will benefit both the parties and this Court.
16 l7. Plaintiff is informed and believes, and thereon alleges, that there are, at minimum,
17 fifty members of the Plaintiff Class.
18 18. The exact size of` the Plaintiff Class and the identities of the individual members
19 thereof are ascertainable through Defendants’ records, including, but not limited to, Defendants’
20 sales and transaction records.
21 Tygicali§y
22 l9. Plaintiff’s claims are typical of the claims of the Class. The claims of the Plaintiff
23 and the Class are based on the same legal theories and arise from the same unlawfirl conduct.
24 20. Plaintiff and the Class members were each customers of Defendants, each having
25 1 made a purchase from, or transacted other business with, Defendants using a credit card and/or
26 l debit card. At the point of such sale or transaction with Plaintiff and Class members, Defendants
27 provided to Plaintiff and each Class member a receipt which violated 15 U.S.C. § 16810(g).
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COMPLAINT FOR DAMAGES AND iNJUNCTlVE RELIEF

 

 

 

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,Case 2:13-cv-OO580-SVVW Document 1 Filed 01/25/13 age 15 of 55 Page |D #:15

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Common guestions 01' Fact and Law

21. There is a well-defined community of interest and common questions of fact and
law aHecting the Class members.

22. The questions of fact and law common to the Class predominate over questions
which may affect individual members and include the following:

(a) Whether Defendants’ conduct of providing Plaintiff and the Class members
with a sales or transaction receipt whereon Defendants printed the expiration
date of the credit card violated FACTA, 15 U.S.C. §§ 1681 et mq.;

(b) Whether Defendants’ conduct was willful;

(c) Whether Plaintiff and Class members are entitled to statutory darnages,
punitive damages, costs and/or attomeys' fees for Defendants’ acts and
conduct; and

(d) Whether Plaintiff and Class members are entitled to a permanent injunction
enjoining Defendants from continuing to engage in their unlawful conduct

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23. Plaintiff is an adequate representative of the Class because her interests do not
conflict with the interests of the Class. Plaintiff will fairly, adequately and vigorously represent
and protect the interests of the Class members and has no interests antagonistic to the Class
members Plaintiff has retained counsel who are competent and experienced in the prosecution
of class action litigation.
§.!m'lm

24. A class action is superior to other available means for the fair and efficient
adjudication of the Class claims. The damages suffered by individual Class members are
relatively small. As a result, the expense and burden of individual litigation makes it
economically infeasible and procedurally impracticable for each Class member to individually
seek redress for the wrongs done to them. Plaintiff does not know of any other litigation
concentng this controversy already commenced by or against any Class member. The likelihood

of the individual Class members prosecuting separate claims is remote. lndividualized litigation

- 5 _
COMPLAINT FOR DAMAGES AND INJUNC'I`WE RELlEF

 

_Case 2:13-cv-OO580-SV\QW Document 1 Filed 01/25/13 .ge 16 of 55 Page |D #:16

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would also present the potential for varying, inconsistent or contradictory judgrnents, and would
increase the delay and expense to all parties and the court system resulting from multiple trials of
the same factual issues. ln contrast, the conduct of this matter as a class action presents fewer
management difficulties, conserves the resources of the parties and the court system, and would
protect the rights of each Class member. Plaintiff knows of no difficulty to be encountered in the
management of this action that would preclude its maintenance as a class action.
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25. Defendants have acted on grounds generally applicable to the Class members,
thereby making appropriate final injunctive relief with respect to the Class as a whole.

FIRST CAUSE OF ACTION
PLAINTIFF AND THE CLASS AGAINST ALL DEFENDANTS
FOR VIOLATION OF 15 U.S.C. §§ 1681'E’1`. SEQ.

26. Plaintiff hereby incorporates by reference all the allegations contained in
paragraphs l through 25, inclusive, of this Complaint as if fully set forth herein.

27. Plaintiff asserts this claim on behalf of herself and the Class against Defendants
and each of them.

28. Titie 15 U.S.C. § 1681c(g)(1) provides in relevant part that

“. . .no person that accepts credit cards or debit cards for the
transaction of business shall print more than the last five digits of the
card number gr_’ the expiration date upon any receipt provided to the
cardholder at the point of sale or transaction.”

29. Defendants transact business in Califomia and accept credit cards and/or debit
cards in the course of transacting business with persons such as Plaintiff and the Class members.
In transacting such business, Defendants use cash registers and/or other machines or devices that
electronically print receipts for credit card and/or debit card transactions.

30. Defendants, at the point of sale or transaction with Plaintiff`, provided Plaintiff
with one or more electronically printed receipts on each of which Defendants printed the

expiration date of Plaintifi’s credit or debit card.

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COMPLAFN'|` FOR DAMAGES AND INIUNCTWE RELIEF

 

_Case 2:13-cv-OO580-SV\T;W Document 1 Filed 01/25/13 599 17 of 55 Page |D #:17

 

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31. Defendants, at the point of a sale or transaction with Class members, provided,
through use of a machine, each member of the Class with one or more electronically printed
receipts, each of which Defendants printed, for each respective Class member, the expiration date
of such member’s credit or debit card.

32. Defendants’ actions were and continue to be willful. Defendants intentionally
print expiration dates on Plaintiff’s and Class members’ receipts. Defendants knew of, or should
have known of, and were informed about the law, including specifically FACTA’s requirements
conceming the prohibition on printing of expiration dates.

33. In addition, on information and belief, many companies such as VISA and
MasterCard devised and implemented policies well before the operative date of FACTA_’s
requirements, wherein such companies as VISA and MasterCard and others required Defendants
(and informed Defendants of the FACTA requirements) to prevent the printing of expiration
dates on receipts.

34. Despite knowing and being repeatedly informed about FACTA and the
importance of preventing the printing of expiration dates on receipts, Defendants and each of
them willfully violated and continue to violate FACTA’s requirements by printing the expiration
date on the receipts provided to Class members ~_.’" persons with whom Defendants transact
business.

35. Defendants willfully violated FACTA in conscious disregard of the rights of
Plaintiff and the Class members thereby exposing Plaintiff and the Class members to an
increased risk of identity then and credit and/or debit card fraud.

36. As a result of Defendants’ willful violations of FACTA, Defendants are liable to
Plaintiff and each Class member in the statutory damage amount of “not less than $100 and not
more than $1000” for each violation. 15 U.S.C. l681n(a)(l)(A).'

37. As a result of Defendants’ willful violations of FACTA, Plaintiff and the Class

members are entitled to recover costs of suit and their reasonable attomeys’ fees. 15 U.S.C.

lesln(a)(s).

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COMPLA|NT FOR DAMAGES AND lN.IUNCTlVE RELIEF

 

,Case 2:13-cv-OO580-SV\WW Document 1 Filed 01/25/13 @ge 18 of 55 Page |D #:18

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members are entitled to punitive damages 15 U.S.C. 1681n(a)(2).

continue to engage in their unlawful conduct.
PRAYER FOR RELlEF
WHEREFORE, Plaintiff, on behalf of herself and the Class members, prays for:

Class, and appointing Gaines & Gaines, APLC representing Plaintiff as counsel for the Class;

2. An award to Plaintiff and the Class members of statutory damages pm'suant to 15
U.S.C. § l681n(a)(l)(A) for Defendants’ willful violations of FACTA;

3. An award to Plaintiff and the Class members of punitive damages pursuant to 15

U.S.C. § 1681!1(a)(2);

4. Payment of costs of suit herein incurred pursuant to, inter alia, 15 U.S.C. §
l681n(a)(3);

S. Payment of reasonable attomeys’ fees pursuant to, inter alia, 15 U.S.C. §
168ln(a)(3);

6. A permanent injunction enjoining Defendants and each of them from engaging in
their violations of FACIA; and

i 7. For other and further relief as the Court deems proper.
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COMPLAINT FOR DAMAGES AND IN]UNCTIVE RELIEF

 

 

38. As a result of Defendants’ willful violations of FACTA, Plaintiff and the Class

39. Defendants’ conduct is continuing and, unless restrained, Defendants will

l. An order certifying the Class and appointing Plaintiff as the representative of the

 

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_Case 2:13-cv-OO580-SVVWW Document 1 Filed 01/25/13 age 19 of 55 Page |D #:19

 

1 b DEMAND FOR JURY TRlAL
2 i Plainti§", on behalf of herself and the putative Class members, demands a trial by jury on
3 all claims and causes of action to which she is entitled to ajury triai.
4 ii
5 Respectl`ully submitted,
6 Dated: December 20, 2012 GAINES & GAINES, APLC.
7
8 By:
D`XNIEL F. GAINES
9 ALEX P. KA'I`OFSKY
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COMPLA¥NT FOR DAMAGES AND l'NJUNCTlVE RELlEF

 

 

 

 

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Instnietions for handling Class Action Civil Cases
The following q'itieal provisions ofthc Chapter ‘l`hree Rules, as applicable m the Central District, are summarized for yoio' assistance

HQ_C.AIIQB t
The Chapter 'I`hroe Rules were effective January l, 1994. They apply to all general civil cases.

PEOM! OVER O’I'HER RUL_F_,S_
The Chaptq' 'I`hroe Rnles slmll live priority over all other Local Rules to the extent the others are inconsistent

C E E
A challenge under Code ofCivil Prnoednre section 170.6 must be made within 15 days alter notice ofnssignment for all proposes to a
judge, or if a party has not yet appeared, within 15 days ofthe first appearance

TlME SI'ANDARDS
Cases assigned to the Individull Calendnring Court will be subject to processing under the following time standards:

COMPLAINTS: All complaints shall be served within 60 days of liling and proof of service shall be filed within 90 days of filing

CROSS-COM.PLA.|NTS: Without leave of court first being obtained., no atom-complaint may be filed by any party after their answer is
iilod. Cross~eomplaints shall be served within 30 days ofthe iling date and a proofofaervice filed within 60 days oftlie filing dote.

A Status Conference will be scheduled by the assigned lndependenr Calendar Judge no later than 210 days after the filing of the complaint
Counsel must be fully prepared to discuss the following issues: alternative dispute rooolution, bifurcation, settlunent. trial dato. and expert
wimesses.

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lheCmntwlllreqiiiretlieparties at nstatus conference not more than 10 days before the trial tohave timely filed and served allmotinns
in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions. sod special jury
instructionsandspecialjin'yverdicts. 'l`liesemattersmaybeheardandrcsolvedatthis confuence Atleast$daysbeforethisconference
cotmsel must also have exchanged list ofexliiblts and witnesses and have submitted to the eo\n't a briefstatement ofthe else to be road to
the jury panel as required by Chaptnr Blght of the Los Angeles Superior Court Rnles.

Mg§lON§

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court, and
time standards or deadlines established by the Court or by the Chapter Three Rules. Such motions may be on a party or if appropriate on
counsel for the party.

Thh ls not a complete delineation of the Cliopt¢r Three Rulu. and adherence only to the above provisions ls therefore not l guarantee nga|nst the imposition of
sanctions nder hill Court D¢lny R¢du¢tlon. Cor¢t\ll reading and compliance with the actual Chlpt¢r Rulel ll absolutely imperative

Given to the PlamdeGoss-ComplainantlAttomey of Record on JOHN A. CLARKE, Executive OfEcer/Clerlt

By nova em

 

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SUPERlQR CQU_RT OF CALIFQRN|A, COl.lN`l'Y C)F LOS ANG_EL_ES
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(CR_C 3221 information about Nternatrve Disputs Reiiohrttort] v
For oddttionotADR intimation and forms visit the CourtAUR weir ripplieitlon 'at mm_dmg@m ic_ttek on AbR).

The plaintiff shall serve o copy oi this lntormdinn Facka_ge on _e_pdi_ d_niendnnt along with the cmle (Clvil cnly).-
What la ADR:

Aibmative Dispute Reeolution (ADR) la the term used to d_eacrrpe all the other options available _for eeltt_i_r'ig a dispute which once had to
be settled h court. _ADR proceesea. such as arbitrritio`rt. mediaia'dn.' normal `dva`lmtio`n (NE), and settlement éontenen_o_ee. are le_ss tonnat
than a court process end provide opp'otlun|ties for parties to reach err agreement using a problem-sotth opponch.

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agreement .

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mediator does not decide the dispute but hops the parties communicate so they 1311 try to settle the dispute thorr`is`elvos. a__tion leaves
control otthe outcome with the parties.

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Angsies County Dspsrtrnent of Corrunr.m_ity and Senior Servloes through DRPA. The list ot the losal
'dlsputs resolution programs funded in Los Angeles County is set forth below.

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SUPER|OR COURT OF CAletFORN|A, COUNTY OF LQ§_ANGELES

 

 

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action, as follows:

The undersigned trades stipulate to participate in a_n Attemative Dlsputs Resol_utlon (ADR) process in the above~enddsd

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VOLUNTARY EFF|C|ENT LlTlGAT|ON STlPULATlONS

 

 

The Early Organizational Nleeting Stipuiation. Discovery
Resolutlon Stipulatlon, and Motions in Limine Stipulatlon are
voluntary stipulations entered into by the parties. The parties
may enter into one, two, or all three of the stipulations
however, they may not alter the stipulations as written
because the Court Wants to ensure uniformity of application
These stipulations are meant to encourage cooperation
between the parties and to assist in resolving issues in a
manner that promotes economic case resolution and judicial

efticiency.

The following organizations endorse the goal of
promoting efticiency in litigation and ask that counsel
consider using these stipulations as a voluntary way to
promote communications and procedures among counsel
and with the court to fairly resolve issues in their cases

.Los Angeles County Bar Association Litigation Section.

0 Los Angeles County Bar Association
Labor and Employment Law Sectlon.

QConsumer Attorneys Asso_ciation of Los Angeles.
.Southern Californla Defense Counsel.
0Association of Business Trial Lawyers.

.California Employment Lawyers Association.

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SUPERlOR COURT OF CAL|FORNlA, COUNTY OF LOS ANGELES

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NFENDANT:

 

ST|PULAT|ON - EARLY ORGAN|ZAT|ONAL MEET|NG

 

 

 

 

Thls stipulation ls intended to encourage cooperation among the parties at an early stage in
the litigation and to assist the parties in efficient case resolution.

The parties agree that:

1. The parties commit to conduct an initial conference (in-person or via leieconference or via
vldeoconference) within 15 days from the date this sdpuiation is slgned. to discuss and consider
whether there can be agreement on the following:

a. Are motions to challenge the pleadings necessary? if the issue can be resolved by
amendment as of rlght, or lf the Court would allow leave to amand, could an amended
complaint resolve most or all of the issues a demurrer mlght otherwise raise? lf so. the parties
agree to work through pleading issues so that a demurrer need only raise issues they cannot
resolve. ls the issue that the defendant seeks to raise amenable to resolution on demurrer, or
would some other type of motion be preferable? Cou|d a voluntary targeted exchange of
documents or infonnatlon by any party cure an uncertaan in the pleadings?

b. initial mutual exchanges of documents at the "core" of the lltigation. (For example, in an
employment case, the employment records, personnel file and documents relating to the
conduct in question could be considered "core.' in a personal injury case, an incident or
police report, medical recordsl and repair or maintenance records could be considered
'core.“);

c. Exchange ot names and contact information of witnesses:

d. Any insurance agreement that may be available to satisfy part or all of a judgment. or to
indemnify or reimburse for payments made to satisfy a ludgment;

e. Exchange of any other information that might be helpful to facilitate understanding handling.
or resolution of the case in a manner that preserves ob)ectlons or privileges by agreement

f. Controlling issues of law that, it resolved early, will promote efliclency and economy in other
phases of the case. Also. when and how such issues can be presented to the Court;

g. Whether or when the case should be scheduled with a settlement otiicer, what discovery or
court ruling on legal issues is reasonably required to make settlement discussions meaningtul,
and whether the parties wish to use a sitting judge or a private mediator or other options as

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discussed in the 'Aiternative' Dispute Resoiution (ADR) information Package" served with the
compiaint;

h. Computation of damages. including documents not privileged or protected from disciosure. on
which such computation is based;

i. Whether the case is suitable ior the Expedited Jury Trlai procedures (see information at
M.iasugeriorcouggm under ‘Clvr'l' and then under 'General Infonnetr‘on').

2. The time for a defending party to respond to a complaint or cross-complaint will be extended

to for the complaint and for the cross-
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compiaint, which is comprised of the 30 days to respond under Government Code § 68616(b).
and the 30 days permitted by Code of Clvll Procedure section 1054(a). good cause having
been found by the Clvll Supervislng Judge due to the case management benefits provided by
this Stipuiatlon.

3. The parties will prepare a joint report titled 'Joint Status Report Pursuant to initial Conierence
and Eariy Organizationai Meeting Stipuiatlon. and ii desired, a proposed order summarizing
results of their meet and confer and advising the Court of any way it may assist tire parties'
efficient conduct or resolution of the case. The parties shall attach the Joint Siatus Report to
the Case Management Conierence statement. and tile the documents when the CMC
statement is due.

4. References to “days" mean calendar days, unless otherwise noted. ii the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day

 

 

 

 

 

 

 

 

 

 

 

 

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STIPULATiON - DiscovERv RESOLUT|ON

 

 

 

 

Thls stipulation is intended to provide a fast and informal resolution of discovery issues
through limited paperwork and an informal conference with the Court to aid in the
resolution of the lssues.

The parties agree that:

1. Pn'or to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
the moving party first makes a written request for an lnfonnal Discovery Conference pursuant
to the terms of this stipulation.

2. At the informal Discovery Conierence the Court will consider the dispute presented by parties
and determine whether lt can be resoived informally. Nothing set forth herein will preclude a
party from making a record at the conclusion of an informal Discovery Conference. either
orally or in writing.

3. Foliowing a reasonable and good faith attempt at an informal resolution of each issue to be
presentedl a party may request an informal Discovery Conference pursuant to the following
procedures:

a. °i`ne party requesting the informal Discovery Conierence wili:

i. Fiie a Request for informal Discovery Conierence with the cleri<'s office on the
approved form (copy attached) and deliver a courtesy, conformed copy to the
assigned department',

ii. include a brief summary of the dispute and specify the relief requested; and

iil. Serve the opposing party pursuant to any authorized or agreed method of service
that ensures that the opposing party receives the Request for informal Discovery
Conierence no later than the next court day following the filing.

b. Any Answer to a Request for informal Discovery Conference must:
i. Also be filed on the approved form (copy attached);
ii. include a brief summary of why the requested relief should be denied;

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iii. Be filed within two (2) court days of receipt of the Request; and

lv. Be served on the opposing party pursuant to any authorized or agreed upon
method of service that ensures that the opposing party receives the Answer no
later than the next court day following the filing.

c. No other pleadings. including but not limited to exhibits. deciaratlons. or attachments. will
be accepted

d. if the Court has not granted or denied the Request for lnfonnal Discovery Conference
within ten (10) days following the filing of the Request. then it shall be deemed to have
been denied. if the Court acts on the Request, the parties will be notified whether the
Request for informal Discovery Conference has been granted or denied and. if granted,
the date and time of the informal Discovery Conference, which must be within twenty (20)
days of the filing of the Request for informal Discovery Conferenoe.

` e. if the conference is not held within twenty (20) days of the filing of the Request for
informal Discovery Conference, unless extended by agreement of the parties and the
Court. then the Request for the informal Discovery Conference shall be deemed to have
been denied at that time.

4. if (a) the Court has denied a conference or (b) one of the time deadlines above has expired
without the Court having acted or (c) the informal Discovery Conference is concluded without
resolving the dispute, then a party may file a discovery motion to address unresolved lssues.

5. The parties hereby further agree that the time for making a motion to compel or other
discovery motion is tolled from the dale of hiing of the Requesl for informal Discovery
Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
filing of the Request for informal Discovery Conference, whichever is earlier, unless extended
by Order of the Court.

lt is the understanding and intent of the parties that this stipulation shall. for each discovery
dispute to which lt applies, constitute a writing memorializing a "specil`rc later date to which
the propounding [or demanding or requesting] party and the responding party have agreed in
writing.' within the meaning of Code Civll Procedure sections 2030.300(0). 2031 .320(c). and
2033.290(¢).

6. Nothing herein will preclude -any party from applying ex parte for appropriate relief, including
an order shortening time for a motion to be heard conceming discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
terminate the stipulation.

8. References to "days' mean calendar days, unless otherwise noted. if the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day.

 

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SUPERlOR COURT OF CALiFCRNiA, COUNTY OF LOS ANGELES
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(pursuant to the Discovery Resoluiion Stipuiatlon of the parties)

 

 

 

 

1. This document relates to:
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Answer to Request for infon'nai Discovery Conference
2. ul?.eadllne for Court to decide on Request overt m 10 ram day¢ ram arm d

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3. Deadline for Court to hold informal Discovery Conference: mm dam zoahmhr
doyafoiiowingilb'\goil\okqueel).

4. For a Request for informal Discovery Conference, mgi]y describe the nature of the
discovery dispute, including the facts and legal arguments at issue. For an Answer to
Request for informal Discovery Conference, briefly describe why the Court should deny
the requested discovery, including the facts and legal arguments at issua.

 

uclv°§‘inewi lNFORMAL DISCOVERY CONFERENCE
usc N’"M‘ °"" (pursuant to the Discovery Resoluiion Stipuiation of the partles)

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` SUPER|OR COURT OF CAL|FORNiA, COUNTY OF LOS ANGELES
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EFENDANT:

 

 

 

 

ST|PULAT|ON AND ORDER - MOT|ONS lN LlMlNE

 

This stipulation is intended to provide fast and informal resolution of evidentiary
issues through diligent efforts to define and discuss such issues and limit paperwork.

The parties agree that:

1. At least __ days before the final status conference, each party will provide all other
parties with a list containing a one paragraph explanation of each proposed motion in
llmine. Each one paragraph explanation must identify the substance of a single proposed
motion ln limine and the grounds for the proposed motion,

2. The parties thereafter will meet and confer. either in person or via teleconference or
videoconferenoe, concerning ali proposed motions in iimlne. in that meet and conferl the
parties will determine:

a. Whether the parties can stipulate to any of the proposed motions. if the parties so
stipulate, they may file a stipulation and proposed order with the Court.

b. Whether any of the proposed motions can be briefed and submitted by means of a
short joint statement of issues. For each motion which can be addressed by a short
joint statement of issues, a short joint statement of issues must be filed with the Court
10 days prior to the final status conference. Each side’s portion of the short joint
statement of issues may not exceed three pages. The parties will meet and confer to
agree on a date and manner for exchanging the parties' respective portions oi the
short joint statement of issues and the process for filing the short joint statement of
rssues.

3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
a short joint statement of issues will be briefed and filed in accordance with the Califomia
Rules of Court and the Los Angeies Superior Court Rules.

 

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KENNETH S. GAINES, ESQ. SBN 049045
|`_ ALEX P. KATOFSKY, ESQ. SBN202754

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orvmozl>cooe: Los Angeles, 90012 SUPER.[OR COURT

saANcHMME: Central District
FLArNTiFF/PETmoNER: CATHER!NE CARTER wsm-ness

 

oEFENoAN'r/RESPONDENr; Wl SPA, LLC BC 497 946

 

Rd. No.c|Fl|a No:

PROOF OF SERVICE OF SUMMONS v
nil/ri a l 0

(Separate proof of service is required for each party served.)
1. At the time of service l was at least 18 years of age and not a party to this action.
2. l served copies of.

3- summons

b complaint

c. Aiiemative Dispute Resolution (ADR) package

d. Civi| Case Cover Sheet (served in complex cases only)
e

f

 

 

 

 

[:] cross-complaint
other (specify documents): Civil Casc Cover Sheet Addendum, Notice Case asignment

3. a. Party served (specify name of party as shown on documents served):
Wi SPA, LLC

b. Person (other than the party in item 32) sawed on behalf of an entity or as an authorized agent (and not a person
under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 38).'

ALPHAN K. TSOi agent for service of process

4. Address where the party was served:
108 N. Ynez Avcnue, Suite 1 i8, Monterey Park, Califomia 9]754
5. l served the party (check proper box)
ay by personal service. l personally delivered the documents listed in item 2 to the party or person authorized to
receive service of process for the party (1) on (date): 12-28-12 (2) at (time): l i;OOA.M_
b. [:| by substituted service. On (daie): at (time): l left the documents listed in item 2 with or
in the presence of (name and title or relationship to person indicated in item 3).'

(1) [:] (business) a person at least 18 years of age apparently in charge at the omce or usual place of business
of the person to be served. l informed him or her of the general nature of the papers.

(2) [:] (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
place of abode of the party. l informed him or her of the general nature of the papers

(3) |_:| lphysical address unknown) a person at least 16 years of age apparently in charge at the usual mailing
address of the person to be served, other than a United States Postai Service post office box. | informed
him or her of the general nature of the papers.

(4) [:] l thereafter mailed (by iirst-class, postage prepaid) copies of the documents to the person to be served
at the place where the copies were left (Code Civ. Proc., § 415.20 . | mailed the documents on
(date): from (city): or a declaration of mailing is attached.

(5) |.:| l attach a declaration of diligence stating actions taken first to attempt personal service.

 

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Case 2:13-cv-OO580-SVW-CW Document 1 Filed 0'1/25/13 Page 35 of 55 Page |D #:35

EXHIBIT
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.Case 2:13-cv-OO580-SVVQW Document 1 Filed 01/25/13 @e 36 of 55 Page |D #:36

 

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Alex P. Katofsky, Esq. (SBN 202754)
~Eaines & Gaines, APLC
21500 Oxnard Street
Suite 980
Woodland Hills, CA 91367
mem~o,; (818) 703-8985 mm.,om.-(alei 703-9964 ORIGINALF

amnmuesawwm;alex@gaineslawfirm.com 11;]

nnmmwnmmmw Plaintiff Catherine Carter

§D

 

suPERron coumoFcAuFomlA, couimror= Los Angeles JAN 22 2013
merwss; 111 North Hill Street LOS ANGE
MNL|NGADDRE§: L .t‘
crrvmozipcooe: Los Angeles, CA 90010 SUP-ERIOR C Eb
anmcHNm'-; Central OURT

 

PLA|NT|FFIPEHTIONER:CATHERINE CARTER, ET AL.
DEFENDANT/RESPONDENT:WI SPA, LLC

 

NOTlCE OF ENTRY OF JUDGMENT

CASE MMBER:
OR 0RDER
(Chv¢k one): hill uNuutTEo cAsE l:| UM¢TED GASE BC 4 97 94 6
(Amouni demanded (Amount demanded was
ex°e°d°d 525'°00) $25.000 or less)

 

 

 

 

TO ALL PARTIES :
1. Ajudgment. decree, or order was entered ir_'l this action on (defe):January 10 , 2 01 3

2. A copy of the iudgment, decree. or order is attached to this notice.

ome:1/17/2013 /…
Alex P. KatofskyJ Esq. b ` v t

mcnealme I:l Ar'roRNEv I:l mewmiou'r)t'rronnm (siemm) /

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Form~:provodlcr°ptvrdlhe
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cN-taa[uewmmy 1, 20101

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CN-1 30

 

 

pLAtNrtFF/Perrno~en cATHERINE cARTER, ET AL. °"SE"““‘“
oEFENDANT/REsPoNoEm-.wl SPA, LLC ' BC 497 946

 

 

 

PROOF OF SERV|CE BY FlRST-CLASS MA|L
NOTICE OF ENTRY OF JUDGMENT OR 0RDER

(NOTE: you cannot serve the Notice of Entry of Judgment or Order if you era a party in the ledon. Tho person who served
the notice must complete this proof ofservlce.)

1.

lam at least 18 years old and ncta party w this action. l am a resident of or employed in the county where the mailing took
plaoe, and my residence or business address is (specify):
21550 Oxnard Street, Suite 980 , Woodland Hills, CA 91367

l served a copy of the Notice of Entry of Judgmenf or Order by enclosing it in a sealed envelope with postage
fully prepaid and (check one).'

a. deposited the sealed envelope with the United States Posta| Service.

b. :] placed the sealed envelope for collection and processing for mailing. following this business's usual practices,
with which l am readily familiar. On the same day correspondence is placed for col|edion and ma'ling, it is
deposited in the ordinary course of business with the United States Postal Service.

`lhe Notice ofEnhy of Judgment or Orderwas mailed:
a. on (date): 1/17/2013
b. from (city and state): Woodland Hills , Cali fornia

The envelope was addressed and mailed as follows:

a. Name of person served: Alphan K. Tsoi c. Name of person served:
Agent for Service of Process

Street address: 10 8 N . Yne z Ave . l 1 8 Street address:
Cily: Mont;erey Park City:
State and zip code:California 91754 State and zip code:
b. Name of person served: d. Name of person served:
Street address: Street address:
City: City:
State and zip code: State and zip code:

[::} Names and addresses of additional persons served are attached (You may use form POS-OSG(P).)

5. Number of pages attached § (l .
l declare under penalty of perjury under the laws of the State of Califomia that the foregoing is true and correct.

Date: 1/17/2013

Carole Thompson > Mg

(TYPE OR PRNT MME OF DECLARANT) (SleTATLRE OF DECLARANT)

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°'V"=*°|""’~'°"“"‘- 2°‘°1 NCT|CE OF ENTRY 0F JUDGMENT OR 0RDER

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JAN l 0 2013
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John A. cremel assume omwrrcieri<
5 By: E. Sabalburo, Deputy
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7 .
8 SUPERIOR COURT OF THE STATE OF CALIFORN"IA
9 coUNTY 01= Los ANGELES
10 cENTRAL DISTRICT
1 1 cATHERlNE cARTER, case No.; BC497946
12 Plaintiff iNmAL sTATUS coNFERENcE 0RDER
l 3 (COMPLEX LITIGATION PROGRAM)
14 vs' Case Assigned for All Purposes to
WI SPA, LLC’ et alj lodge Kenneth R. Freeman
15 Department: 310
16 D°f¢“dm“$~ perez Aprii 19, 2013
Time: 1:30 p.m.
l 7
l 8
19 This case has been assigned for all purposes to Judge Kenneth R. Freeman in the Complex
20 Litigarion Program. An burial status conference is set for Apri1 19, 2013, at 1;30 p.m., in
2 l
Department 310, located in the Central Civil West Courthouse at 600 South Commonwealth
22
23 Avenue, Los Angeles, Califomia 90005. Counsel for all parties are ordered to attend.
24 The court orders counsel to prepare for the Initial Status Conference by identifying and
25 discussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to
26 initiate contact with counsel for defense to begin this process. Counsel then must negotiate and
27 agree, as possible, on a case management plan. To this end, counsel must file a Ioint Initial Status
28
rN`lT'lAL STATUS CON`FERENCE 0RDER

 

 

 

QCaSe 2:13-cv-OO580-SVV@W Document 1 Filed 01/25/13 ace 39 of 55 Page |D #:39

Conference Class Action Response Statement five court days before the lnitial Status Conference.
The Joint Response Statement must be filed on line'numbered pleading paper and must
specifically answer each of the below-numbered questions. Do not the use the Judicial Council
Form CM-l 10 (Case Management Statement).

1. PARTIES AND COUNSEL: Please list all presently-named class representatives and
presently-named defendants, together with all counsel of record, including counsel’s contact and

email information

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2. P()TENTIAL ADDITIONAL PARTIES: Does any plaintiff presently intend to add

more class representatives? lfso, and if known, by what date and by what name? Does any

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plaintiff presently intend to name more defendants? If so, and if known, by what date and by what

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name? Does any appearing defendant presently intend to tile a cross-complaint? Ifso, who will

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be named.

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3. IMPROPERLY NAMED DEFENDANT(S): If the complaint names the wrong

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person or entity, please explain.

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4. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party

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believes one or more named plaintiffs might not be an adequate class representative, please

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explain No prejudice will attach to these responses.

20 s. ESTIMATED cLAss sIZE: Pleese discuss and indicate the estimated eiess size
2 l
22
23

24
25 7. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION

6. OTHER ACTIONS WlTI-I OVERLAPPING CLASS DEFINITIONS: Please list
other cases with overlapping class det'mitions. Please identify the court, the short caption title, the

docket number, and the case status.

26 WAIVER CLAUSES: Please include a sample of any clause of this sort Opposing parties must

27 summarize their views on this issue.

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INITIAL STATUS CONFERENCE 0RDER

 

 

 

’Case 2:13-cv-OO580-SVVEW Document 1 Filed 01/25/13 age 40 of 55 Page |D #:40

8. PO'fEN'fIAL EARLY CRUCIAL MOTIONS: Opposing counsel are to identify and
describe the significant core issues in the case. Counsel then are to identify efficient ways to
resolve those issues. The vehicles includes

l Motion to Compel Arbitration,

l Eariy motions in limine,

l Early motions about particular jury instructions and verdict forms,
l Demurrers,

l Motions to strike,

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10 l Motions for judgment on the pleadings, and

l l l Motions for summary judgment and summary adjudication.

12 NOTE: Effective 2012, by stipulation a party may move for summary adjudication of
13
14
15
16
17

18 from the defendant’s records? If so, do the parties consent to an “opt-ou ” notice process (as

a legal issue or a claim for damages that does not completely dispose of a cause of action, an
affirmative defense, or an issue of dutyl. Counsels are to analyze, discuss, and report on the

relevance of this powerful new procedure.

9. CLASS CONTACT INFORMATION: Does plaintiff need class contact information

19 approved in Belaire- West Landscape, Inc. v. Superior Court (2007) 149 Cal.App.4th 554, 561) to

` 20 precede defense delivery of this information to plaintist counsel? If the parties agree on the

21 notice process, who should pay for it? Should there be a third-party administrator?
22

10. PROTECTIVE ORDERS: Parties considering an order to protect confidential
23

information from general disclosure should begin with the model protective orders found on the

24
25 Los Angelcs Superior Court Website under “Civil Tools for Litigators.”

 

26

27 1See Code Civ. Proc. § 437c, subd. (s)

28
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INITIAL STATUS CONFERENCE 0RDER

 

 

 

'Case 2:13-cv-OO580-SVVWW Document 1 Filed 01/25/13 We 41 of 55 Page |D #:41

11. DISCOVERY: Please discuss discovery. Do the parties agree on a plan'? If not, can
the parties negotiate a compromise? At minimum, please summarize each side’s views on
discovery. The court generally allows discovery on matters relevant to class certification which
(depending on circumstances) may include factual issues also touching the meii'ts. The court
generally does not permit extensive or expensive discovery relevant only to the merits (for
example, detailed damages discovery) unless a persuasive showing establishes early need. If any

party seeks discovery from absent class members, please estimate how many, and also state the

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kind of discovery you proposez.

12. INSURANCE COVERAGE: Please state if (l) there is insurance for indemnity or

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reimbursement, and (2) whether there are any insurance coverage issues which might affect

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settlement

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13. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each

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party’s position about it. lf pertinan how can the com help identify the correct neunal and

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prepare the case for a successful settlement negotiation?

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14. TIMELINE FOR CASE MANAGEMEN'I`: Please recommend dates and times for

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the following:

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how

l The next status conference,

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l A schedule for alternative dispute iesolution, if it is relevant,

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l A filing deadline for the motion for class certification and

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l Filing deadlines and descriptions for other anticipated non-discovery motions.

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15. ELEC'I'RONIC SERVICE OF PAPERS: For efficiency the complex program

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requires the parties in every new case to use a third-party cloud service, such as:

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2 see california Rule of court Rule 3.768.

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Case 2:13-cv-OO580-SVW@/V Document 1 Filed 01/25/13 939 42 of 55 Page |D #:42

l Case Anywhere (www.caseanyv_ghere.com),

l CaseHomePage www.casehome e.com , or

l Lexis-Nexis File & Serve (www.lexisnexis.com/fileandserve).

Please agree on one and submit tlie parties’ choice when filing the Joint lnitial Statim
Conference Class Action Response Statement. lfthere is agreement, please identify the vendor. lf
parties cannot agree, the court will select the vendor at the Initial Status Conference. Electronic
service is not the same as electronic filing. Only traditional methods of filing by physical delivery

of original papers or by fax filing are presently acceptable

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Reminder When Seeking To Dismiss Or To Obtain Settlement Approval:

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“A dismissal of an entire class action, or of any party or cause of action in a class action, requires

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court approval. . . . Requests for dismissal must be accompanied by a declaration setting forth the

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facts on which tlie party relies. The declaration must clearly state whether consideration direct or

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indirect, is being given for the dismissal and must describe tlie consideration in detail.”3 If the

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parties have settled the class action, that too will require judicial approval based on a noticed

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motion (although it may be possible to shorten time by consent for good cause shown).

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Pending further order of this Court, and except as otherwise provided in this Initial Status

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Conference Order, these proceedings are stayed in their entirgt_g. This stay shall preclude tlie

filing of any answer, demurrer, motion to strike, or motions challenging the jurisdiction of the

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Court; however, any defendant may file a Notice of Appeara.nce for purposes of identification of

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counsel and preparation of a service list. The filing of such a Notice of Appearance shall be

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without prejudice to any challenge to the jurisdiction of the Court, substantive or procedural

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challenges to the Complaint, without prejudice to any affirmative defense, and without prejudice

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3 Califomia Rule of coun, Rule 3.770(a)

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,Case 2:13-cv-OO580-SVV@W Document 1 Filed 01/25/13 age 43 of 55 Page |D #:43

to the filing of any cross-complaint in this action This stay is issued to assist the Court and the

 

l
2 parties in managing this “complex” case through the development of an orderly schedule for
3 briefing and hearings on procedural and substantive challenges to the complaint and other issues
4 that may assist in the orderly management of these cases. This stay shall not preclude the parties
5 from informally exchanging documents that may assist in their initial evaluation of the issues
6 presented in this case, however shall stay all outstanding discovery requests
; Plaintiff's counsel is directed to serve a copy of this Initial Status Conference Order on
9 counsel for all parties, or if counsel has not been identified, on all parties, within five (5) days of
10 service of this order. If any defendant has not been served in this action, service is to be completed
l l within twenty (20) days of the date of this order.
12 Dated: January io, 2013
13
14 tamm R.FneEMAN
15 Judge Kenneth R. Freeman
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Case 2:13-cv-OO580-SVW-CW Document 1 Filed 01/25/13 Page 44 of 55 Page |D #:44

EXHIBIT
6 CD’ 9

,Case 2:13-cv-OO580-SVV\WW Document 1 Filed 01/25/13 ge 45 of 55 Page |D #:45

 

 

PLA\NT\FF;PeTmoNr-:R: CATHERINE CARTER C*SE WMB€R'

_oEFENoANr/aespo~oe~r; Wl SPA1 LLC

BC 497 946

 

 

 

51 c_ 13 by mail and acknowledgment of receipt of service. l mailed the documents listed in item 2 to the party. to the

address shown in item 4, by first-class mail, postage prepaid,
(1) on {date): (2) from (cr'ty):

(3) [:l with two copies of the Notice and Acknowledgment of Receipl and a poswgmh return envelope addressed
to me. (Artach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
l4) ij to an address outside Califomia with return receipt requested (Code Civ. Proc.. § 415,40.)

d. \:l by other means (specr'fy means of service and authorizing code secticn).'

:l Aooiiional page describing service is attached

6. The “Notice lo the Person Served" (on the summons) was completed as lollows:

a
b

go

{:] as an individual defendant,
ij as the person sued under the hctitious name of (speclfy):
as occupant

On behalf°f (SPBC"/Y)~' Wl SPA, LLC, a Califomia limited liability company
under the following Code of Civil Procedure section:

I[l

416.10 (oorporav'oo) l°_'l 415.95 (business organization form onkoown)
m 416.20 (del‘unct corporation) ij 416.60 (minor)
|:l 416.30 (joint stock company/association) l:l 416_70 (ward or conservatee)
[;:l 416.40 (association or partnership) l:l 416.90 (authorized person)
El 416.50 (poblic enuly) m 415-46(0¢¢\1¢>3"¢)
ij other:

7. Penon who served papers

.‘".¢1.00'

Name: Edward Gino Melzi, The Melzi Group, ASAP~Attomey Services
Address: 5825 Reseda Blvd., Suite 310
Telephone number- 818.705.8460
The fee for service was: $ lS0.00
l am:
(1) [:] not a registered Califomia process server.

(2) - exempt from registration under Business and Professicns Code section 22350(b).
(3) a registered Califomia process server:

(i) owner ij employee I:] independent oontractor.

(ii) Registratlon No.'. 201209838\

(iii) COvnly-' Los Angeies

8. ldeelam under penalty ot perjury under the laws of the State of Califomia that the foregoing is true and correct

' or
9. :] lam a couromia sheriff or marshal and l certify mar rha foregoing is im

Date: December 28, 2012

 
 

 

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PRooF oF sERvicE oF summons "'°' ""

, .Case 2:13-cv-OO580-SVVEW Document 1 Filed 01/25/13 ace 46 of 55 Page |D #:46

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_F_\lex P. Katofsky, Esq. (SBN 202754)
Gaines & Gaines, APLC

21500 Oxnard Street

Suite 980

Woodland Hills, CA 91367

.; (818) 703-8985 . ' :(818) 703-898 m
smem;l:s;":);:;: alex@gaineslawfir:m~?d;ur:w 4 ORIGINAL FILE

Arronnevi=onr~¢mi: Plaintiff Catherine Cart,er

 

suPeRioRcouRToi=cAl_iFonmA, coun'rYoF Los Angeles JAN 22 2013

smesrwoness: 111 Nortl'i Hill Street

w-G~mss=L An l CA 90010 LOS ANGELES

CIHANDZlPCODE: OS e eS .
Mr....e Centr£ ’ SUPERIOR coURT

 

PLAlNTlFF/PE'I'|T|ONER:CATHERINE CARTER, ET AL.
DEFENDANT/RESPONDENT:WI SPA, LLC

, NOTlCE OF ENTRY OF JUDGMENT

 

CASE NWB£R<
OR 0RDER
(crreck cne).- [E uNuuiTEo cAsE I:] Liun'eo cAsE BC 4 97 94 6
(Amount demanded (Amount demanded was
exceeded 325.000) szs.ooo cr iess)

 

 

 

 

TO ALL PARTIES :
1. A judgment, decree, or order was entered in this action on (date):January 1 0 , 2 01 3

2. A copy of the judgment, decree, or order is attached to this notice

care:1/17/2013 //)(r/')/_\
Al_ex P, thofsky. Esq. , V "

mrPE on mm m oi= )m'oiui£v [:] PARTY wrriiou'r At'roRNsv) (sioNATuiE) /

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ch.er¢rc.rr.,..r. NoncE oF ENTRY oF JquMENT oR 0RDER SOLH:§
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. ,_ ,Case 2:13-cv-OO580-SVVUW Document 1 Filed 01/25/13 ®e 47 of 55 Page |D #:47

CN-130

 

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,_

oeFENoANT/RESFoNoENT: WI SPA, LLC BC 497 946

PROOF OF SERV]CE BY FlRST-CLASS MA|L
NOTlCE OF ENTRY OF JUDGMEN`|’ OR 0RDER

(N01E: you canno¢serve the Notice of Entry of Judgment or Order lfyou are a party in the acdon. The person who served
the notice must complete this proof ofservice.)

 

 

 

 

1. l am at least 18 years old and not a party to this action. l am a resident of or employed in the county where the mailing took
place. and my residence or business address is (specr'fy):
21550 Oxnard Street, Suite 980, Woodland Hills, CA 91367

2. l served a copy of the Notice of Errtly of Judgment or Order by enclosing it in a sealed envelope with postage
luliy prepaid and (check orie): _

a. 12 deposited the sealed envelope with the United States Posta| Servica.

b. l::l placed the sealed envelope for collection and processing for mailing, following this business's usual practices
with which l am readily familiar On the same day correspondence is placed for collection and mailing, it is
deposited in the ordinary course of business with the United States Postal Service.

3. The Notice of Entry of Judgment or Orderwas mailed:
a. on(dale):1/17/2013
b. from (city and state): woodland Hills , Cali fornia

4. The envelope was addressed and mailed as follows:

a. Nameofperson served: Alphan K. Tsoi c. Nameofpersor\ served:
Agent for Service of Process

Street address: 1 08 N . Ynez Ave . 1 1 8 Street address:
City: Mont;erey Park City:
State and zip code:California 91754 State and zip code:
b. Name of person served: d. Name of person served:
Street address: Street address:
Cit;c City:
State amd zip code: State and zip code:

§ Names and addresses of additional persons served are attached (You may use form POS-030(P).)
5. Number of pages attached 3___.
l declare under penalty of perjury under the laws of the State of Califomia that the foregoing is true and correct.

Date:1/17/2013

girole Thompson ,
(YYPE OR PRlNT NA\E OF DEC\.ARANT) (SlGNAT\RE DECLARANT)

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°'V"’°l""“"““" ‘- 2°‘°’ NOTICE OF ENTRY OF JUDGMENT OR 0RDER

, ., _Case 2:13-cv-OO580-SVVUW Document 1 Filed 01/25/13 Qe 48 of 55 Page |D #:48

SUPER|OR COURT OF CALlFORNlA, COUNTY OF LOS ANGELES

 

 

 

ime 01/10/13 DEPT. 310
HoNoRABLF. KENNETH R . FREEMAN mode E . SABALBURO DEPu'rY cLERK
uoNon.ABLE IUDGE rko TF.M eiecmomc macome MoNrron
#8
P. REES, C.A. Dcputy Shcriff NONE chormt
2:00 pm BC497946 Pmmm
Counsel
CATHERINE CARTER
VS demm
WI SPA LLC Counsel
Complex 1/10/13 NO APPEARANCES
NATURE OF PROCEEDlNGS:

COURT 0RDER REGARDING NEWLY FILED CLASS ACTION

By this order, the Court determines this case to

be Complex according to Rule 3.400 of the California
Rules of Court, The Clerk's Office has randomly
assigned this case to this department for all

purposes.

By this order, the Court stays the case, except

for service of the Summons and Complaint. The stay
continues at least until the Initial Status
Conference. Initial Status Conference is Set for
April 19, 2013, at 1:30 p.m , in this department.

At least 10 days prior to the Initial Status
Conference, counsel for all parties must discuss

the issues set forth in the Initial Status Conference
Order issued this date. The Initial Status Conference
Order is to help the Court and the parties manage this
complex case by developing an orderly schedule for
briefing, discovery, and court hearings. The parties
are informally encouraged to exchange documents and
information as may be useful for case evaluation.

Responsive pleadings shall not be filed until further
Order of the Court. Parties must file a Notice of
Appearance in lieu of an Answer or other responsive
pleading. The filing of a Notice of Appearance shall
not constitute a waiver of any substantive or
procedural challenge to the Complaint. Nothing in this
order stays the time for filing an Affidavit of

 

 

MINUTES ENTERED
Page 1 of 3 DEPT, 310 01/10/13
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, , aCase 2:13-cv-OO580-SVV@W Document 1 Filed 01/25/13 as 49 of 55 Page |D #:49

SUPER|OR COURT OF CAL|FORN|A. COUNTY OF LOS ANGELES

 

 

 

Dxm 01/10/13 DEPL 310
uomnmms KENNETH R. FREEMAN mem E. SABALBURO nsmn¥cumx
HoNoRABLE xUDGE PRo TEM ELECrRoNlc macome MoNrrOR
#8
P . REES , C . A . Dq)uty Shcriff NONE Reponcr
2:00 pm BC497946 mass
Counsel
CATHERINE CARTER
VS Defendml
WI SPA LLC Caunscl
Complex 1/10/13 NO APPEARANCES
NATUREOFPROCEEDDKB:

Prejudice pursuant to Code of Civil Procedure Section
170.6.

According to Government Code Section 70616
subdivisions (a) and (b), each party shall pay a fee
of $1,000.00 to the Los Angeles Superior Court within
10 calendar days from this date.

The plaintiff must serve a copy of this minute order
on all parties forthwith and file a Proof of Service
in this department within seven days of service.

The Court requests that parties file one original and
one courtesy copy of the Joint Initial Status
Conference Class Action Response Statement in
Department 310.

CLERK'S CERTIFICATE OF MAILING

I, the below-named Executive Officer/Clerk of the
above-entitled court, do hereby certify that I am
not a party to the cause herein, and that on this
date I served a copy of this Minute Order and the
Initial Status Conference Order

upon each party or counsel named below by placing
the document for collection and mailing so as to
cause it to be deposited in the United States mail
at the courthouse in Los Angeles,

California, one copy of the original filed/entered

 

 

Page 2 of 3 DEPT. 310

 

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, ` .Case 2:13-cv-OO580-SVVUW Document 1 Filed 01/25/13 ®e 50 of 55 Page |D #:50

SUPER|OR COURT OF CAL|FORN|A. COUNTY OF LOS ANGELES

 

 

DATE: 01/10/13 DEPT. 310
HONORABLE KENNETH R . FREEMAN JUDGB E . SABALBURO pspury qng
HONORABLE JUDGE Pko TEM ELEchoNrc RECORD!NG MoNrrOR
#8
P. REES, C .A. D¢pucysh¢rm NON'E R¢pom
2:00 pm BC497946 Hmmn
Counscl
CATHERINE CARTER '
VS Defendam
WI SPA LLC Counsel

Complex 1/10/13

NO APPEAR.ANCES

 

NATURE OF PROCEED]NGS:

Dated: January 10, 2013

By:

herein in a separate sealed envelope to each address
as shown below with the postage thereon fully prepaid,
in accordance with standard court practices.

John A. Clarke, Executive Officer/Clerk

 

E . Sabalburo

Kenneth S. Gaines

GAINES & GAINES, APLC

21550 Oxnard Street, Suite 980
Woodland Hills, CA 91367

 

Page 3 of

 

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I the_undersigned, declare that I am2 and was at the time of service of the
pa_pe_rs er_ein referred toz over the age of eighteen years and not a party to the
within action or proceeding M business ad_dress is the law firm of Fox
llK§)(§léschild LLP, 1800 Century ark East, Suite 300, Los Angeles, CA 90067-

On JanuaiszS, 2013, I served the followin document(s described as
DEFENDANT I SPA LLC’S NOTICE OF EMOVAL F ACTION
_UNDER 28 U.S.C. § 1351 (FEDERAL QUESTION) on the interested parties
in this action as follows:

SERVICE LIST

Kenneth S. Gaines, Esq

Daniel F. Gaines, Esq.

Alex P. Katofsky, Esq.
Sepideh Hirmand, Esq.
GAINES & GAINES, APLC
21550 Oxnard Street, Suite 980
Woodland Hills, CA 91367

[X BY MAIL: I enclosed the document(s) i.n a sealed envelope or packa e

ad ressed to the [per_Sons at the addresses listed in the S_ervice Li_st and plac_e the
_ ection_and mailm , following our ordinary business practices.

I am readily familiar with Fo_x Ro schild LL practice for collecting and_

processing document for mailing On the sai_ne d_ay that the document(s) is/are

placed for collection _and mailin , it is depo_sited in the ordinary course of

usiness with the U_nited States ostal Service, in a sealed envelope with
postage fully prepaid.

  
 
  

is true and correct

I declare under pe_nalty of erj that the for oi
of this Court at

and that _l am_ em loyed in the o ice o a member of e
whose direction e service was made.

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DATED: January 25, 2013 "

 

Hson Lozano l

 

NOTICE OF REMOVAL
LA1 281746v1 01/25/13

 

Case 2:13-cv-OO580-SVW-CW Document 1 Filed 01/25/13 Page 52 of 55 Page |D #:52

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Stephen V. Wilson and the assigned
discovery Magistrate Judge is Carla Woehrle.

The case number on all documents filed with the Court should read as follows:

cv13- 580 svw (cwx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of Califomia, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed ori the calendar of the Magistrate Judge

NOTlCE TO COUNSEL

A copy of this notice must be served with the summons and complaint on a// defendants (if a removal action is
filed, a copy of this notice must be served on a// p/aintiffs).

Subsequent documents must be filed at the following location:

estern Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Angeies, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTlCE OF ASS|GNMENT TO UN|TED STATES MAGISTRATE JUDGE FOR D|SCOVERY

Case 2:13-cv-OO580-SVW-CW Document 1 Filed 01/25/13 Page 53 of 55 Page |D #:53

UN|TED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CALlFORNlA

 

ClVlL COVER SHEET
l(l) 1'LA1N'l`ll-`FS (Check box if you are representing yourself El) DEFE_INDANTS
Cntherii'ie Cmer, on behalf of herself and all others similarly situated Wl Spl. LLC

 

Attomeys (lf Known)

lsmoe| Blutisla, Jr.. Fox Rothschild LLP
1800 Century Park Elst, Ste. 300. Los Angeles, CA 90067
(310) 598.4150

(b) At\omeys (Firrn Name. Address md Telephoi\e Number. If you lre representing
yoursel|`, provide same.)
Kenneth S. Gaines, Gaines & Glir\es, APLC
21550 Oxnud SL, Ste. 980, Woodlmd Hills, CA 91367
(818) 703-8985

 

 

ll. BAS|S 0|-` JUR|SD|C|` 10N (Plsce an X in one box only.) llL Cl`l'lZENSlIlP OF FR|NC|I'AL PART|ES ~ For Diversity Cases Only
(P|ace 1111 X in one box for plaintiff and one for defendunt.)
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Govemment Not o Party) Citizen ofThis State D 1 C] 1 lncorpora\ed or Pn`ncipal Place 111 4 D 4
of Business in this State
C) 2 U.S. Governnient Defenth U 4 Diversity (lndicate Citizenship Citizenot` Another State U 2 U 2 1ncorpomted and Principal Plxce U 5 U 5
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Citizen or Subject of a Forei'gn Country D 3 U 3 Foreign Nl\ioo U 6 D 6

 

 

lV. OR|GlN (Pllce ul X in one box only.)

U 1 Originll d 2 Removed from D 3 Remanded from D 4 Reinsuted or El 5 Trunsfetred from mother district (speci_|`y): C] 6 Mu|ti- C) 7 Appeal 10 District
Proceeding State Court Appe|llte Court Reopened District Judge from
litigation Magistrate Judge

 

V. REQUESTED lN COM|’|A|NT:
CLASS ACTION under F.R.C.l’. 232 U ch

JURY

?MAND: dYes U No (Check ‘Yes' only if demanded in complainL)
No

l'_`l MONEY DEMANDED IN COMPIA|NT: 5

 

Vl. CAUSE 0|-` ACl'lON (Cite the U.S. Civ11 Statute under which you are filing md write l brief sutemcnt of cause. Do not cite jurisdictional statutes un|o¢ diversity.)
Removal is filed under 28 U.S.C. sec. 1331 as Plaintitl‘s complaint lrises under Fair Credit Reponing Act, l5 U.S.C, Sec. 1681p.

VlL NATURE OF SUl'l`(Pllce an X lo one box only.)

 

 

 

 

 

 

 

 

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AFI'ER COMPLETING THE FRONT SlDE Ol" FORM CV-?l, COMPLETE TIIE INFORMATlON REQUESTED BELOW.

 

CV-71 (05/08)

ClVlL COVER SHEL'|'

Plgc 1 of 2

Case 2:13-cv-OO580-SVW-CW Document 1 Filed 01/25/13 Page 54 of 55 Page |D #:54

UN|TED STATES D|STRICT COURT, CENTRAL DlSTRlC'l' OF CALlFORNlA
civii. covr:ir siren

Vlll(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? dNo Cl Yes
lfyer, list case number(s): -

Vlll(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? dNo L°.l Yes
lfyes. list case mmrber(s):

 

Clvll cases are deemed related lf a previously filed care and the present ease:
(Check all boxes that apply) Cl A. Arise from the same or closely related transactions, happenings, or events; or
Cl B. Call for determination of the same or substantially related or similar questions of law and fact; or
13 C. For other reasons would entail substantial duplication of labor if heard by different judgcs; or
Cl D. lnvolve the same patent, trademark or copyright a_rig one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following inforrmtion, use an additional street if necessary.)

(a) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country. in which EACH named plaintiff resides.
Cl Clicclt here if the overnment its a encies or employees is a * plaintiff lf this box is check * go to item (b).

County in this Disu'iet:' Califomia County outside of this District; Staie, if other than Califomia; or Foreign Counrry

 

 

  

 

 

(b) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Counlry, in which EACH named defendant resides
Zl Check here if the governian its agencies oremployees is a named defendant lf this box is checked, go to ilem (c).

County in this District:' Califomia Coinny outside of this District; State, ifother than Califomia; or Foreign Cotmtry
Los Angeles

 

 

 

(c) Lisrihe County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: la land condemnation eases, use the location of the tract of land involved.

County in this Districi.'° Califomia County outside of this Districi; State_ if other than Califomia; or Foreign Country
Los Angelcs

 

 

 

 

 

 

° Los Angclca, Orange, Saa Bemardfno, Riveraldc. Veritura, Santa Barbara. or Saii Lula Ob|spo Countlea
Note: n land co a ion cases the location of tra o and i tv d

x. sioNATuru-: oF A'rToitNeY (oR rko PER); gm wm 25, 2013

Notice tn Counae|/Partlea: 111e CV-71 (1$-44) Civil Cover Sheet and the information contained herein neither replace norsupplernent the filing and service of pleadings
orotherpapers as required by law. This form. approved by the Judicia| Conference of the United States in Septcmbcr 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statisties, venue and initiating the civil docket sheet (For more detailed instructions see separate instructions sheet)

 

Key to Statistical codes relating to Socia| Security Cases:
Nattire of Suit Code Abbreviatlon Substaotlve Statement of Cause of Actfon

861 HlA All claims for health insurance benefits (Medicare) under Title 18. Fart A. of the Socia.l Securily Act, as amended
Also, include claims by hospita|s. skilled nursing facilities, etc.. for certification as providers of services under the
program (42 U.S.C. l9J$FF(b))

862 BL All claims for “Black Lung" benefits under Tit|e 4, Pari B, of the Federal Coal Mii'ie Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DlWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Secun`ly Act, as
amended; plus all claims filed for child`s insurance benefits based on disability (42 U.S.C. 405(g))

863 Dlww All claims filed for widows or widowers insurance benefits based on disability under Tit|e 2 of the Social Securiry
Act. as amended. (42 U.S.C. 405(g))

864 SSlD All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended

865 1151 All claims for retirement (old age) and survivors benefits under Tiile 2 of the Social Secun'ty Act. as amended (42
U-S-C- (8))

 

CV-71 (05/08) ClVlL COVER SHEET Page 2 of2

Case 2:1

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_3-cv-OO580-SVW-CW Document 1 Filed 01/25/13 Page 55 of 55 Page |D #:55

PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF L`OS ANGELES

I the undersigned, declare that l am, and was at the time of service of the
papers herein referred to, over the age of eighteen years and not a party to the
within action or proceeding. M business ad_dress is the law firm of Fox
lll§)(t)léschild LLP, 1800 Century ark East, Suite 300, Los Angeles, CA 90067-

On January 25 2013, I served the following document(s) described as
CIVIL COVER SHii`.ET on the interested parties in this action as follows:

SERVICE LIST

Kenneth S. Gaines, Esq

Daniel F. Gaines, Esq.

Alex P. Katofsky, Esq.

Sepideh Hirmand, Esq.
GAINES & GAINES, APLC
21550 Oxnard Street, Suite 980
Woodland Hills, CA 91367

[XAI BY MAIL: I enclosed the document(s) in a sealed envelope or packeage
ad essed to the lpersons at the addresses lis_ted in the S_ervice List and plac_ the
envelope _for col _ection_and mailin , followin our ordinary business practices.

I am readily familiar with Fq)t Ro schild LL practice for collecting and_
processing document for mailing. _On the sar_ne d_ay that the document(s) is/are
placed for collection _and mailin , it is deposited in the ordinary course of

usiness with the United States ostal Service, in a sealed envelope with

postage fully prepaid.

 
 
  
  

I declare under penalty of erj that the for
and that _I am_ emglloyed in the o ice o a member of
whose direction e service was lmade.

DATED: January 25, 2013

g is true_ and correct
ar of this Court at

 

Jason Lozano §\J

 

ClVlL COVER SHL'.E'I`

 

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